      Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 1 of 44




 1   QUINN EMANUEL URQUHART & SULLIVAN LLP
     John Potter (CA Bar No. 165843)
 2     johnpotter@quinnemanuel.com
     Charles B. Stevens (CA Bar No. 324425)
 3     charliestevens@quinnemanuel.com
 4   50 California St., 22nd Floor
     San Francisco, CA 94111
 5   (415) 875-6600
 6
     QUINN EMANUEL URQUHART & SULLIVAN LLP
 7   Michael E. Williams (CA Bar No. 181299)
 8     michaelwilliams@quinnemanuel.com
     Sage R. Vanden Heuvel (CA Bar No. 294868)
 9     sagevandenheuvel@quinnemanuel.com
     865 S Figueroa St, 10th Floor
10   Los Angeles, CA 90017
11   (213) 443-3100
12
     QUINN EMANUEL URQUHART & SULLIVAN LLP
13   Derek L. Shaffer (CA Bar No. 212746)
       derekshaffer@quinnemanuel.com
14   1300 I Street NW, Suite 900
15   Washington, D.C. 20005
     (202) 538-8000
16
     Attorneys for Plaintiff U.S. News & World Report, L.P.
17
18                 IN THE UNITED STATES DISTRICT COURT
19               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                           ______________ DIVISION
20
     U.S. NEWS & WORLD REPORT, L.P.            Case No. ______________
21
22               Plaintiff,                    COMPLAINT FOR INJUNCTIVE RELIEF
                                               AND A DECLARATORY JUDGMENT
23         vs.
24
     DAVID CHIU, in his Official Capacity as
25   City Attorney of the City and County of   JURY TRIAL DEMANDED
     San Francisco,
26
27               Defendant.

28




                                                                      COMPLAINT
      Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 2 of 44




 1
                                         Introduction
 2
 3         1.     The First Amendment to the United States Constitution safeguards the

 4   freedom of speech and the freedom of the press against viewpoint-based
 5
     discrimination by the government. The Liberty of Speech Clause in the California
 6
 7   Constitution, Art. I, § 2, similarly protects these foundational rights.         And
 8
     California’s Reporters’ Shield Law, embodied in the California Constitution (Art. I,
 9
10   § 2, subd. (b)) and California law (Cal. Evid. Code § 1070), defends the press against

11   intrusive inquiries by the government into unpublished information, newsgathering,
12
     and methodologies.
13
14         2.     Despite these bedrock protections, San Francisco’s City Attorney David
15
     Chiu (the “City Attorney”) is now investigating and issuing burdensome subpoenas
16
17   to Plaintiff U.S. News & World Report, L.P. (“U.S. News”) because he disagrees

18   with U.S. News’ viewpoint and methodology (which is publicly available) for
19
     arriving at U.S. News’ rankings. Specifically, the City Attorney disapproves of U.S.
20
21   News’ rigorous and well-respected Best Hospital rankings.                It is flatly
22
     unconstitutional for the City Attorney to harass U.S. News due to his differing views
23
24   on these rankings; his mounting harassment must be put to a stop.

25         3.     At its core, the City Attorney’s actions pose a fundamental threat to our
26
     First Amendment rights and set a dangerous precedent for all media platforms and
27
28   news organizations.      The City Attorney is threatening invasive, sweeping,


                                               2
                                                                             COMPLAINT
      Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 3 of 44




 1
     burdensome incursions against a news organization merely because he disagrees
 2
 3   with an editorial viewpoint – specifically, U.S. News’ rankings and methodology.

 4   The independence of editorial determinations—free from business considerations—
 5
     is a bedrock principle of journalism, to which U.S. News proudly adheres.
 6
 7         4.     U.S. News firmly stands behind its hospital rankings as a valuable and
 8
     reliable public resource for individuals and families making critical decisions about
 9
10   medical care for themselves and their loved ones.

11         5.     Throughout its storied 90 year history, U.S. News has been a news
12
     organization that has consistently maintained the highest level of journalistic
13
14   integrity. U.S. News has won a variety of prestigious awards, including multiple
15
     National Magazine Awards and other recognition from the Society of Professional
16
17   Journalists, Investigative Reporters and Editors, the National Press Club, and the

18   Overseas Press Club of America. Its mission has been and remains to equip its
19
     readers and consumers with the information needed to make important life decisions.
20
21   Over the decades, U.S. News has learned that its readers consume information in
22
     different formats, which led to the development of robust ranking systems based on
23
24   multiple data sources, compiled and summarized with rigor and journalistic

25   expertise. For over 34 years, U.S. News has provided hospital rankings to recognize
26
     excellence in healthcare services and provide important information to healthcare
27
28   consumers. U.S. News maintains fidelity to its mission of helping consumers make


                                              3
                                                                            COMPLAINT
      Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 4 of 44




 1
     the best healthcare decisions and operates according to the highest journalistic
 2
 3   standards.

 4         6.     On June 20, 2023, and with no prior warning, the City Attorney sent
 5
     U.S. News a demand letter (attached hereto as Exhibit A) criticizing the results of
 6
 7   U.S. News’ hospital rankings and seeking information about U.S. News’ ranking
 8
     methodology, purportedly under the auspices of the California Business and
 9
10   Professions Code section 17508. The City Attorney claimed (incorrectly) that the

11   rankings “suffer from poor and opaque methodology” and questioned U.S. News’
12
     claim that it is the “global authority in hospital rankings.” In a thorough response
13
14   dated July 19, 2023 (Ex. B), U.S. News raised grave, pointed concerns about the
15
     City Attorney’s infringement on U.S. News’ rights under the United States and
16
17   California Constitutions and California’s Reporters’ Shield Laws, while also

18   explaining that its ranking methodology is published annually, communicated
19
     widely, and is wholly transparent.
20
21         7.     When U.S. News did not receive any further correspondence from the
22
     City Attorney for nearly six months, it reasonably assumed that the City Attorney’s
23
24   misguided inquiry was at an end. It was not.

25         8.     On January 9, 2024, the City Attorney inexplicably returned and
26
     escalated his intrusive inquiry by issuing, without notice, two subpoenas seeking
27
28   documents and information relating to U.S. News’ hospital rankings (the


                                              4
                                                                           COMPLAINT
      Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 5 of 44




 1
     “Subpoenas”). Exs. D, E. The Subpoenas mark an unconstitutional intrusion into
 2
 3   U.S. News’ journalistic practices, motivated by the City Attorney’s disapproval of

 4   U.S. News’ viewpoint regarding which hospitals deserve to be ranked higher than
 5
     others.
 6
 7         9.    The Subpoenas make clear that the City Attorney is using governmental
 8
     process to engage in viewpoint discrimination—and, indeed, is proceeding as though
 9
10   he holds censorial (or editorial) authority over how U.S. News performs its

11   journalistic work ranking hospitals. The Subpoenas ask U.S. News to “[d]escribe
12
     [U.S. News’] basis for not including measures of health equity in its rankings of
13
14   adult Hospitals”; “[d]escribe how, if at all, [U.S. News] has incorporated primary
15
     and preventive care in each annual version of the Best Hospitals rankings”; and
16
17   “[d]escribe [U.S. News’] basis for believing that Medicare outcomes information

18   from at least 18 months ago accurately reflects current Hospital outcomes.”
19
           10.   Simply put, the City Attorney believes his office has the power to
20
21   second-guess and redirect the journalistic decision-making of U.S. News based on
22
     his own view of what factors should and should not be considered. This is the same
23
24   power that governmental censors and licensors had claimed over the press until the

25   Framers of the U.S. Constitution enshrined the First Amendment more than 200
26
     years ago in order to abolish any such power. Because the City Attorney today is
27
28   flouting the First Amendment’s protection of Freedom of Expression and the


                                             5
                                                                          COMPLAINT
      Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 6 of 44




 1
     Freedom of the Press along with California’s Constitution, U.S. News is respectfully
 2
 3   seeking injunctive and declaratory relief.

 4         11.     If the City Attorney’s actions are allowed to stand, any journalistic
 5
     enterprise that provides analyses or opinions to the public—analyses or opinions that
 6
 7   elected officials may wish to fault—may for that reason be subject to subpoena and
 8
     investigation.   Government actors who disagree with any form of journalism,
 9
10   including articles, rankings, product reviews, editorials, op-eds, or even political

11   cartoons, may feel free to use their powers of investigation to harass, reshape, and
12
     chill those views. Such actions are an affront to the foundational freedoms upon
13
14   which our Constitution and nation are built.
15
           12.     Forcing U.S. News to respond to the Subpoenas would violate the core
16
17   right of U.S. News to be free from viewpoint-based discrimination by the

18   government.      Defendant’s adverse government action implicates U.S. News’
19
     fundamental rights both as a private speaker and a world-renowned journalistic
20
21   enterprise. It thus falls to this Court to vindicate the freedoms of speech and of the
22
     press embedded in the First Amendment and the Liberty of Speech Clause.
23
24         13.     Faced with violation and chilling of First Amendment freedoms, U.S.

25   News has been forced to bring this suit pursuant to 42 U.S.C. §§ 1983 and 1988 and
26
     28 U.S.C. §§ 2201-02 to obtain injunctive and declaratory relief to secure its rights,
27
28



                                                  6
                                                                             COMPLAINT
      Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 7 of 44




 1
     privileges, and immunities under the United States Constitution, the California
 2
 3   Constitution, and California’s Reporters’ Shield Laws.

 4         14.    Specifically, U.S. News seeks a declaration that the Subpoenas violate
 5
     the First and Fourteenth Amendments to the United States Constitution, Article I,
 6
 7   section 2 of the California Constitution, and section 1070 of the California Evidence
 8
     Code. U.S. News also seeks an order permanently enjoining Defendant from
 9
10   enforcing the Subpoenas.

11                                         Parties
12
           15.    U.S. News is a privately held company that, for over 90 years, has been
13
14   a leading journalistic institution with a reputation for fact-based and data-driven

15   reporting. U.S. News is famous for, among other things, providing trusted rankings
16
     of colleges, graduate schools, hospitals, states, countries, and healthiest
17
18   communities.    There are tens of millions of visitors to U.S. News’ website,
19
     usnews.com, every month, consisting of people seeking research and guidance.
20
21         16.    Defendant David Chiu is the City Attorney of the City and County of

22   San Francisco. In that capacity, he exercises enforcement authority on behalf of the
23
     City and County of San Francisco and holds ultimate authority over the Subpoenas
24
25   and any actions to force compliance with same.
26
27
28



                                              7
                                                                            COMPLAINT
      Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 8 of 44




 1
                                         Jurisdiction
 2
           17.    This case presents federal questions within this Court’s jurisdiction
 3
 4   pursuant to Article III of the United States Constitution and 28 U.S.C. §§ 1331 and
 5
     1343(3). U.S. News brings this action pursuant to 42 U.S.C. §§ 1983 and 1988
 6
 7   (deprivation of rights, privileges, and immunities secured by the Constitution and

 8   federal law) and 28 U.S.C. §§ 2201-02 (declaratory judgment as to an actual
 9
     controversy).
10
11                                 Divisional Assignment
12         18.    This civil action should be assigned to the San Francisco division.
13
     Defendant is the City Attorney for the City and County of San Francisco, and a
14
15   substantial part of the events giving rise to the claims occurred in San Francisco.
16
                                            Venue
17
           19.    Venue in this Court is proper under 28 U.S.C. § 1391(b).
18
19                                           Facts
20   I.    BACKGROUND OF U.S. NEWS AND ITS METHODOLOGY FOR
21         HOSPITAL RANKINGS

22         20.    U.S. News has been ranking hospitals for 34 years. Its “Best Hospital”
23
     rankings are broken into two subcomponents — specialty rankings and procedure
24
25   and condition ratings.

26         21.    The specialty rankings are meant for patients with life-threatening or
27
     rare conditions who need a hospital that excels in treating complex, high-risk cases.
28



                                               8
                                                                             COMPLAINT
      Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 9 of 44




 1
     Hospitals are ranked from 1 to 50 in most specialties, with hospitals not in the top
 2
 3   50 but still in the top 10% of all rated hospitals in those specialties receiving a

 4   designation of “high performing.”
 5
           22.    The procedure and condition ratings, meanwhile, focus on specific and
 6
 7   more commonly required individual procedures and conditions, such as hip
 8
     replacement and heart failure, rather than on broader specialties like orthopedics and
 9
10   cardiology. The goal for these rankings is to evaluate how well hospitals perform in

11   each procedure or condition—not just for the most challenging cases, as with the
12
     specialty rankings, but across the full range of patients. Because the procedures and
13
14   conditions evaluated are performed at many more hospitals than the specialties, the
15
     evaluations produce ratings rather than numerical rankings. Hospitals that treat
16
17   enough patients to be evaluated are rated one of three ways for each procedure or

18   condition: high performing, average, or below average.
19
           23.    In 2023, U.S. News evaluated thousands of hospitals across 15
20
21   specialties and 21 procedures.
22
           24.    U.S. News provides its Best Hospital rankings to recognize excellent
23
24   healthcare facilities and to provide the public with an informed view of the relative

25   strengths of particular hospitals. As stated on U.S. News’ website, the rankings are
26
     intended to be taken as a “starting point,” and “[a]ll care decisions should be made
27
28



                                               9
                                                                             COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 10 of 44




 1
     in conjunction with medical professionals.”1          Depending on any particular
 2
 3   individual’s health situation, it might make more sense to go to an average hospital

 4   that is close by or in-network for insurance purposes rather than a high-performing
 5
     hospital that is far away and out-of-network.
 6
 7         25.    The methodology used to produce each year’s Best Hospitals rankings
 8
     is updated and refined on an annual basis by a team of professionals and journalists
 9
10   led by a Managing Editor and a Senior Health Data Scientist. Each member of the

11   editorial team works full time on health rankings, including the hospital rankings.
12
     Editorial team members are not involved in sales of any products or services and
13
14   revenue considerations do not impact the rankings in any way.
15
           26.    In formulating its rankings, U.S. News has contracted for nearly 20
16
17   years with an independent, nonprofit research institute to support the publication of

18   Best Hospitals: Specialty Rankings and Best Children’s Hospitals. Additionally,
19
     U.S. News has from time to time contracted with other professional organizations to
20
21   support its analytical work.
22
           27.    The process that U.S. News’ editorial team uses to iteratively refine its
23
24   methodology is designed to be responsive to stakeholder feedback, advances in

25
26
           1
27           Ben Harder, FAQ: How and Why We Rank and Rate Hospitals, U.S. News Dec.
     5, 2023, available at https://health.usnews.com/health-care/best-hospitals/articles/faq-
28   how-and-why-we-rank-and-rate-hospitals (last visited Jan. 23, 2024).


                                               10
                                                                              COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 11 of 44




 1
     measurement science, and changes in how healthcare is delivered to beneficiaries of
 2
 3   America’s largest insurance plan, Medicare. This process entails long-standing

 4   journalistic practices that includes judgment and evidentiary rigor.
 5
           28.    Stakeholder feedback is an essential component of the journalistic
 6
 7   process, and the team obtains feedback via multiple modalities, including: (1)
 8
     working groups comprising medical experts; (2) U.S. News-convened focus groups
 9
10   of healthcare consumers; (3) U.S. News-initiated interaction with medical

11   researchers and study authors; (4) memoranda and letters submitted by specialty
12
     societies, hospital consortia, researchers, clinicians, patients, patient advocate
13
14   groups, hospital and health system administrators, and other stakeholders; (5)
15
     professional meetings at which U.S. News staff present and receive feedback; (6)
16
17   U.S. News-hosted conferences and webinars in which U.S. News staff present and

18   receive feedback; and (7) other miscellaneous communications with stakeholders.
19
     All of this unpublished information obtained during U.S. News’ editorial process is
20
21   protected by the First Amendment and California’s Reporters’ Shield Law.
22
           29.    Advances in measurement science are identified by: (1) reading peer-
23
24   reviewed studies published in relevant scientific journals, such as the Journal of the

25   American Medical Association, Health Affairs, and Health Services Research; (2)
26
     speaking with and corresponding with researchers about the methods they have used
27
28   in such studies; and (3) conducting independent scientific research.


                                              11
                                                                             COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 12 of 44




 1
           30.    Relevant changes in healthcare delivery are identified by studying
 2
 3   policy announcements issued by the Centers for Medicare and Medicaid Services,

 4   as well as studying data, whether issued by other groups or derived internally, to
 5
     understand changing trends in how and where diseases are treated and how
 6
 7   treatments are documented in the data sets available for our analysis.
 8
           31.    The U.S. News team curates the feedback received and identifies
 9
10   candidate methodology changes that, in its members’ opinions, are likely to improve

11   the precision with which the methodology identifies high-performing hospitals.
12
           32.    U.S. News publishes, along with the actual rankings, reports that
13
14   describe in detail the methodologies underlying each of its Best Hospital rankings
15
     for that year. Examples of these reports are attached hereto as Exhibits G and H. In
16
17   particular, the reports describe the changes that have been made from the prior year’s

18   methodology, the data that is collected/used, the weighting of the data and criteria,
19
     the expert opinion component to the rankings, and even methodological
20
21   improvements that are being considered for future years.             These detailed
22
     methodology reports are available for downloading so that anyone can see the
23
24   methodology used for a particular ranking in any particular year.

25         33.    U.S. News gives no weight to financial considerations when
26
     determining and publishing its rankings. Higher rankings cannot be bought at any
27
28   sum, as this would fatally undermine U.S. News’ standing as a leader in unbiased,


                                              12
                                                                              COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 13 of 44




 1
     quality-driven rankings. While U.S. News accepts advertising and other revenues
 2
 3   from entities that may be ranked—just as television networks and newspapers

 4   regularly accept ads from businesses that are the subject of news stories—such
 5
     advertising plays no role in the rankings. Ranked entities have the option to license
 6
 7   a “badge” to highlight their placement on the rankings on their own website and in
 8
     their own advertisements, a practice followed by many other publications. The
 9
10   licensing of badges is common in the publishing industry. The licensing of the badge

11   has absolutely no connection with the rankings an entity may receive.
12
           34.    U.S. News is just one of many publications that provide rankings and/or
13
14   ratings to the public, both about hospitals and otherwise. The Wall Street Journal,2
15
     The San Francisco Chronicle,3 Newsweek,4 The L.A. Times,5 The New York Times’
16
17
18
19
20
21         2
                  2024 Best Colleges in the U.S., WALL STREET JOURNAL, available at
     https://www.wsj.com/rankings/college-rankings/best-colleges-2024 (last visited Jan. 23,
22
     2024).
             3
23                Cesar Hernandez and Soleil Ho, Top 25 Restaurants, SAN FRANCISCO
     CHRONICLE, Jan. 15, 2024, available at https://www.sfchronicle.com/projects/2023/best-
24
     sf-restaurants-bay-area/ (last visited Jan. 23, 2024).
             4
25                World’s     Best       Hospitals     2023, NEWSWEEK,        available     at
     https://www.newsweek.com/rankings/worlds-best-hospitals-2023/united-states          (last
26   visited Jan. 23, 2024).
             5
27             Bill Addison, The 101 Best Restaurants in Los Angeles of 2023, LOS ANGELES
     TIMES, Dec. 5, 2023, available at https://www.latimes.com/food/list/101-best-los-angeles-
28   restaurants-ranked-2023 (last visited Jan. 23, 2024).


                                                13
                                                                               COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 14 of 44




 1
     Wirecutter,6 Forbes,7 Consumer Reports,8 Better Homes and Gardens,9 CNET,10
 2
 3   Money.com,11 and countless other websites, newspapers, and magazines offer

 4   rankings, reviews, and “best of” lists to their readers. If the City Attorney’s actions
 5
     are permitted to stand, the overreach threatens to chill all media, not just U.S. News.
 6
 7   II.    U.S. NEWS’ HOSPITAL RANKINGS ARE WIDELY RECOGNIZED
            AS A VALUABLE RESOURCE
 8
            35.    Numerous third-party evaluations by experts in the healthcare industry
 9
10   support U.S. News’ view that its hospital rankings are a valuable and trusted resource
11
     for the public. Most notably, in 2019, health researchers writing in the New England
12
13   Journal of Medicine (long renowned as one of the world’s most respected and
14
     influential medical journals) bestowed upon U.S. News the highest grade among the
15
     hospital rankings they evaluated.12 The researchers conducted a comprehensive
16
17
18          6
                 New York Times Wirecutter, available at https://www.nytimes.com/wirecutter/
19   (last visited Jan. 23, 2024).
             7
20               Forbes Lists, FORBES, available at https://www.forbes.com/lists/list-directory/
     (last visited Jan. 23, 2024).
21           8
                  CONSUMER REPORTS, available at https://www.consumerreports.org/ (last
     visited Jan. 23, 2024).
22           9
                  BHG Recommends, BETTER HOMES & GARDENS, available at
23   https://www.bhg.com/shopping/bhg-recommends/ (last visited Jan. 23, 2024).
             10
                 Best Products, CNET, available at https://www.cnet.com/best/ (last visited Jan.
24
     23, 2024).
             11
25                 The Best Hospitals of 2024, MONEY, available at https://money.com/best-
     hospitals/ (last visited Jan. 23, 2024).
26           12
                 Karl Y. Bilimoria, et al., Rating The Raters: An Evaluation Of Publicly Reported
27   Hospital Quality Rating Systems, NEW ENG. J. OF MED. CATALYST, Aug. 14, 2019,
     available at https://catalyst.nejm.org/doi/full/10.1056/CAT.19.0629 (last visited Jan. 23,
28   2024).


                                                 14
                                                                                  COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 15 of 44




 1
     study to evaluate various hospital ranking systems, including the federal
 2
 3   government’s CMS Hospital Compare Overall Star Ratings, Healthgrades Top

 4   Hospitals, Leapfrog Safety Grade and Top Hospitals, and U.S. News. The study
 5
     involved a group of experienced methodologists, consisting of physician scientists
 6
 7   who bring expertise in healthcare quality measurement from academic centers and
 8
     the private sector. The study established six major criteria for assessing these rating
 9
10   systems:          Potential   for   Misclassification   of   Hospital    Performance,

11   Importance/Impact, Scientific Acceptability, Iterative Improvement, Transparency,
12
     and Usability.         The assessment aimed to identify strengths, weaknesses, and
13
14   opportunities for improvement in the rating systems. This rigorous study spanned
15
     several months and aimed to provide users with valuable insights into the different
16
17   rating systems, ultimately aiding in their decision-making process.

18         36.         U.S. News emerged as the health researchers’ top-ranking system. It
19
     surpassed even the U.S. Government’s own rating system, Hospital Compare. The
20
21   New England Journal of Medicine study concluded, “[w]e qualitatively agreed that
22
     the U.S. News rating system had the least chance of misclassifying hospital
23
24   performance. There was considerable agreement in overall grade assignments

25   among the six individuals who performed the ratings.”13 As one of the most highly
26
27
28         13
                 Id.


                                                  15
                                                                             COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 16 of 44




 1
     regarded peer-reviewed publications in the world, the New England Journal of
 2
 3   Medicine study affirms the credibility and significance of U.S. News rankings.

 4         37.    In January 2021, the Journal of General Internal Medicine published an
 5
     article entitled “Revisiting US News & World Report’s Hospital Rankings—Moving
 6
 7   Beyond Mortality to Metrics that Improve Care”, written by respected physicians at
 8
     Brigham and Women’s Hospital, Harvard Medical School, and Johns Hopkins
 9
10   Medicine.14 The authors concluded: “[U.S. News] rankings have a powerful ability

11   to provide useful information about where patients should seek care at a specialty
12
     and overall hospital level. Similarly, they can motivate hospitals to provide patient-
13
14   centered care. We applaud [U.S. News’] efforts to help patients make informed
15
     decisions, and we hope that these rankings will evolve to be as reliable and valuable
16
17   as possible to patients and providers.”15

18         38.    U.S. News’ hospital rankings has garnered additional acclaim from
19
     countless other publications. USA Today, for instance, published an article on July
20
21   27, 2021 emphasizing U.S. News’ inclusion of a health equity analysis in its 2022
22
23
24
           14
25                Mallika L. Mendu, et al., Revisiting US News & World Report’s Hospital
     Rankings—Moving Beyond Mortality To Metrics That Improve Care, J. OF GENERAL
26   INTERNAL         MED.       36(1):209-210,    July   7,    2020,   available     at
27   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7858726/pdf/11606_2020_Article_6002.
     pdf (last visited Jan. 23, 2024).
28           15
                Id.


                                                 16
                                                                             COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 17 of 44




 1
     Best Hospitals rankings.16 This health equity analysis identified that “racial and
 2
 3   ethnic minorities were underrepresented among patients in roughly 4 out of 5

 4   hospitals in the country,” highlighting the importance for hospitals to be more
 5
     cognizant of these issues when administering healthcare to their local populations.
 6
 7         39.    On July 12, 2023, USA Today published a news article entitled
 8
     “Hospital Rankings Are Far From Perfect. But Experts Say Patients Still Need
 9
10   Them.”17 In that article, an expert on quality care and patient safety noted generally

11   with respect to hospital rankings: “The industry doesn’t put out anything more
12
     accurate and doesn’t put out anything more useful or more timely.”18 The article
13
14   indicated that “[t]he annual ratings also create health competition where hospitals
15
     vie for patients by devoting resources to hospital quality and safety, which leads to
16
17   better care and health outcomes.”19

18         40.    U.S. News believes that its methodology relies on “world-class data and
19
     technology,” and it has ample justification for its opinion. The rankings rely on the
20
21
           16
                See Adrianna Rodriguez, US Hospitals Struggle To Reduce Health Disparities:
22
     Minority Patients Underrepresented In 4 Of 5 Hospitals, USA TODAY, July 27, 2021,
23   available at https://www.usatoday.com/story/news/health/2021/07/27/us-news-best-
     hospital-ranking-includes-first-health-equity-analysis/8090005002/ (last visited Jan. 23,
24
     2024).
             17
25              Adrianna Rodriguez, Hospital Rankings Are Far From Perfect. But Experts Say
     Patients Still Need Them, USA TODAY, July 12, 2023, available at
26   https://www.usatoday.com/story/news/health/2023/07/12/why-patients-need-us-hospital-
27   health-rankings/70396794007/ (last visited Jan. 23, 2024).
             18
                Id.
28           19
                Id.


                                                17
                                                                               COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 18 of 44




 1
     Medicare fee-for-service data set, a widely employed data set by academic
 2
 3   researchers and various stakeholders.                Notably, the rankings incorporate

 4   sophisticated technologies from third-party software companies which are highly
 5
     regarded in the industry. These robust data sources and advanced technological tools
 6
 7   contribute to the reliability and accuracy of U.S. News’ hospital rankings. As
 8
     discussed above, U.S. News continually enhances its data points through ongoing
 9
10   improvements and refinements. As the New England Journal of Medicine notes in

11   its study, U.S. News notably improved its rating system by “weighting volume for
12
     proportion of Medicare Advantage patients, improving outcome measures with
13
14   exclusion of external transfers, and adding risk adjustment for sociodemographic
15
     factors.”20
16
17         41.      These are only a handful of the reputable publications that support U.S.

18   News’ beliefs and assertions about the quality and value of its hospital rankings.
19
     Undoubtedly, there are other publications that may disagree. Views on both sides
20
21   are subjective opinions entitled to the fullest First Amendment protections. It is not
22
     up to any government to choose between any competing opinions or to respond to
23
24   one view or the other with adverse governmental action or inquiry.

25
26
27
28         20
                 Karl Y. Bilimoria, et al., supra n.12.


                                                   18
                                                                               COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 19 of 44




 1   III.   DEFENDANT’S UNCONSTITUTIONAL INQUIRY INTO U.S.
 2          NEWS’ PROTECTED SPEECH
 3          42.   On June 20, 2023, the City Attorney sent U.S. News a demand letter
 4
     seeking information regarding the Best Hospital rankings. See Exhibit A. On its
 5
 6   face, the City Attorney’s letter evinced viewpoint-based criticisms of the U.S. News’
 7   rankings and methodologies. Among other things, the letter expressed “significant
 8
     concerns about the rankings of hospitals,” stated that the rankings “suffer from poor
 9
10   and opaque methodology,” questioned the “reliability of the rankings,” and
11
     suggested (falsely) that “USNWR’s ranking methodology is seriously flawed.”
12
13   Exhibit A at 1-2.      From there, the letter called out specific aspects of the
14   determinations that U.S. News has made in producing its rankings—such as the
15
     selection of “Honor Roll” hospitals, the relative emphasis on cystic fibrosis versus
16
17   sickle cell disease, the alleged “fail[ure] to incorporate indicators of health equity,”
18
     an “undue emphasis on mortality,” and U.S. News’ regard for “subjective opinion
19
20   surveys.” Id. at 2-3. The letter was a textbook example of content and viewpoint-
21   based discrimination by a government entity.
22
            43.   The City Attorney’s letter sought to couch its criticisms of the content
23
24   of U.S. News rankings with specious allegations of potential wrongdoing. For
25
     example, the City Attorney alleged a potential violation of California Business and
26
27   Professions Code section 17508 because U.S. News “advertises itself as an
28



                                               19
                                                                              COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 20 of 44




 1
     authoritative resource in comparing hospitals overall, regionally, and with respect to
 2
 3   specialties, procedures, and specific medical conditions.” Id. at 1-2. Specifically,

 4   the City Attorney challenged U.S. News’ portrayal of itself as the “global authority
 5
     in hospital rankings,” and the assertions that its rankings are “authoritative,” based
 6
 7   on “world-class data and technology,” and to aid patients and families in “find[ing]
 8
     the best healthcare,” making “data-informed decisions,” and identifying “sources of
 9
10   skilled inpatient care.” Id. According to the City Attorney, U.S. News may not offer

11   favorable opinions of itself without providing “all evidence of the facts on which” it
12
     bases such opinions. Id. If this were the law, every news organization and business
13
14   in America would face potential legal peril anytime it speaks highly of itself. But
15
     the First Amendment says otherwise.
16
17         44.    Moreover, the statute that the City Attorney relied on is inapplicable

18   because these statements are not “advertising claim[s].” Under Section 17508, an
19
     actionable statement must meet a three-part test to fall within the purview of
20
21   California’s False Advertising Law (Cal. Bus. & Prof. Code § 17500 et seq.): “(1) a
22
     commercial speaker, (2) an intended commercial audience, and (3) representations
23
24   of fact of a commercial nature.” Bernardo v. Planned Parenthood Fed’n of Am., 115

25   Cal. App. 4th 322, 347–48 (2004) (citing Kasky v. Nike, Inc., 27 Cal. 4th 939, 964
26
     (2002)). The City Attorney’s letter did not identify any commercial statements of
27
28   fact. In Bernardo, the court held that mere statements of opinion on Planned


                                              20
                                                                             COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 21 of 44




 1
     Parenthood’s website were not actionable as commercial advertisements. Bernardo,
 2
 3   115 Cal. App. 4th at 348; see also Nike, 27 Cal. 4th at 967 (holding that the False

 4   Advertising Law and Unfair Competition Law “do not suppress points of view but
 5
     instead suppress false and misleading statements of fact”) (emphasis added).
 6
 7         45.     The same no less follows for U.S. News’ descriptions of its rankings.
 8
     These statements about U.S. News’ journalism are subjective opinion, not
 9
10   commercial statements of fact, and they accordingly are not actionable as a matter

11   of law.     In any event, these statements are amply validated by the views of
12
     independent third-party publications and industry observers, as detailed above.
13
14         46.     The City Attorney also baselessly alleged that U.S. News had violated
15
     16 C.F.R. § 255.5, a provision of FTC’s Guides Concerning the Use of Endorsements
16
17   and Testimonials in Advertising (“Guides”), by failing to disclose payments from its

18   ranked hospitals for badge licensing, data subscriptions, and advertising on U.S.
19
     News’ website and guidebook. According to the letter, the Guides apply to U.S.
20
21   News because it is an “endorser” under Section 255.0 of the Guides, and the hospital
22
     payments “might materially affect the weight or credibility of the endorsement,”
23
24   thereby triggering disclosure obligations under Section 255.5. Exhibit A at 3.

25         47.     The City Attorney’s FTC allegations are misplaced for four reasons.
26
27
28



                                              21
                                                                           COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 22 of 44




 1
           48.    First, U.S. News’ rankings of hospitals are not “endorsements” or
 2
 3   “testimonials” in advertising as defined by the Guides. In its notice of adoption in

 4   2009, the FTC stated:
 5
             In general, under usual circumstances, the Commission does not
 6           consider reviews published in traditional media (i.e., where a
 7           newspaper, magazine, or television or radio station with
             independent editorial responsibility assigns an employee to review
 8
             various products or services as part of his or her official duties, and
 9           then publishes those reviews) to be sponsored advertising
10           messages. Accordingly, such reviews are not “endorsements”
             within the meaning of the Guides. Under these circumstances, the
11           Commission believes, knowing whether the media entity that
12           published the review paid for the item in question would not affect
             the weight consumers give to the reviewer’s statements.21
13
           49.    The Commission further clarified that its view regarding endorsements
14
15   “would be the same . . . for an Internet News website with independent editorial
16
     responsibility, rather than a traditional brick-and-mortar periodical.”22 In other
17
18   words, there is no endorsement so long as the news media is editorially independent
19   in its reporting, rather than reporting on behalf of advertisers or their agent.23 U.S.
20
     News is a media company with independent editorial responsibility; its editorial
21
22   content is assigned to staff who review and report hospitals as their official duties
23
24
25
26         21
               Guides Concerning the Use of Endorsements and Testimonials in Advertising,
27   74 Fed. Reg. 53136 (Oct. 15, 2009) (revising 16 C.F.R. § 255) (emphasis added).
           22
               Id. at 53136 n.101.
28         23
               Id. at 53136.


                                               22
                                                                             COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 23 of 44




 1
     and have no involvement in the company’s advertising content.24 The Guides simply
 2
 3   do not apply.

 4         50.    Second, even if the Guides did apply—and they do not—no disclosure
 5
     would be warranted under the circumstances. Section 255.5 requires disclosure of a
 6
 7   material connection between the endorser and the seller of the advertised product.
 8
     A “material connection” is a relationship that “might materially affect the weight or
 9
10   credibility of the endorsement, and that connection is not reasonably expected by the

11   audience….”25 The Commission acknowledges that “some connections may be
12
     immaterial because they are too insignificant to affect the weight or credibility given
13
14   to endorsements.”26 Here, there is absolutely no connection between the rankings a
15
     hospital may receive and their decision to license a badge or purchase advertising in
16
17   U.S. News.

18         51.    Third, the Guides are merely “administrative interpretations” of the
19
     Federal Trade Commission Act (“FTCA”); they do not constitute binding law subject
20
21   to enforcement by the City Attorney’s Office.27 Section 255.0, the “purpose and
22
     definitions” section of the Guides, provides that the Guides “address the application
23
24
25
           24
                   U.S. News, U.S. News & World Report Editorial Guidelines, available at
26   https://www.usnews.com/about-us/editorial-guidelines (last visited Jan. 23, 2024).
             25
27              16 C.F.R. § 255.5(a).
             26
                Id.
28           27
                 16 C.F.R. § 255.0(a).


                                               23
                                                                             COMPLAINT
      Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 24 of 44




 1
     of section 5 of the FTC Act, 15 U.S.C. 45, to the use of endorsements and
 2
 3   testimonials in advertising” and “provide the basis for voluntary compliance with

 4   the law by advertisers and endorsers.”28 Thus, although “[p]ractices inconsistent
 5
     with these Guides may result in corrective action by the [Federal Trade]
 6
 7   Commission,” they do not automatically constitute violations of the law or the
 8
     FTCA.29 Moreover, only the FTC – not the City Attorney nor anyone else – can
 9
10   enforce the FTCA. “It is well-established that there is no private right of action for

11   violation of the FTCA; only the Federal Trade Commission has standing to enforce
12
     it.”30
13
14            52.   Finally, and contrary to the implications in the City Attorney’s letter,
15
     commercial relationships with hospitals have no influence whatsoever in
16
17   determining a hospital’s position in U.S. News’ rankings or even whether a hospital

18   is ranked at all. The independence of editorial determinations—free from business
19
20
21
22            28
                Id.
              29
23               Id.; see also F.T.C. v. Garvey, 383 F.3d 891, 903 (9th Cir. 2004); BHRS Grp.,
     LLC v. Brio Water Tech., Inc., 2020 WL 9422352, at *9 (C.D. Cal. Dec. 14, 2020);
24
     Christensen v. Harris County, 529 U.S. 576, 587 (2000) (holding mere interpretations
25   expressed in policy statements, agency manuals, and enforcement guidelines lack the force
     of law).
26          30
                 Kerr v. Am. Home Mortg. Servicing, Inc., 2010 WL 3743879, at *3 (S.D. Cal.
27   Sept. 23, 2010); see also Carlson v. Coca-Cola Co., 483 F.2d 279 (9th Cir. 1973) (“The
     protection against unfair trade practices afforded by the Act vests initial remedial power
28   solely in the Federal Trade Commission”).


                                                24
                                                                                COMPLAINT
      Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 25 of 44




 1
     considerations—is a bedrock journalistic principle, to which U.S. News proudly
 2
 3   adheres.

 4         53.    On June 20, 2023, shortly after sending the letter to U.S. News, the City
 5
     Attorney expounded, via his personal Twitter account, his disagreement with the
 6
 7   content of U.S. News’ hospital rankings:
 8         Today, my Office sent a letter seeking information on @usnews
 9         hospital rankings, which have come under scrutiny for questionable
           methodology, bias & undisclosed financial relationships with highly
10         ranked hospitals. Consumers use these rankings to make consequential
11
           health care decisions, and yet there is little understanding that the
           rankings are fraught & that U.S. News has financial relationships with
12         the hospitals it ranks. The hospital rankings appear to be biased
           towards providing treatment for wealthy, white patients, to the
13         detriment of poorer, sicker, or more diverse populations. This creates
14         perverse incentives that may be warping our healthcare system.
           Hospitals are essentially “treating to the test” by investing in specialties
15         that rack up the most points rather than in primary care or other worthy
           specialties.31
16
17         54.    In parallel, the City Attorney announced the letter from the official City

18   Attorney account and on the City Attorney’s website, again repeating his baseless
19
     allegation that U.S. News’ rankings have a “questionable methodology.”32 Six days
20
21   later, the City Attorney tweeted, again from his personal account, that, “[f]ollowing
22
     31
23           David       Chiu,     Tweet         Message,        X.com,    available       at
     https://x.com/DavidChiu/status/1671246558967500800?s=20 (last visited Jan. 23, 2024)
24
     (emphasis added).
     32
25          San Francisco City Attorney, Tweet Message (June 20, 2023), available at
     https://twitter.com/SFCityAttorney/status/1671245937271005184 (last visited Jan. 23,
26   2024); San Francisco City Attorney, U.S. News & World Report Faces Legal Scrutiny Over
27   Dubious         Hospital    Rankings,       June       20,     2023,   available      at
     https://www.sfcityattorney.org/2023/06/20/u-s-news-world-report-faces-legal-scrutiny-
28   over-dubious-hospital-rankings/ (last visited Jan. 23, 2024).


                                               25
                                                                               COMPLAINT
      Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 26 of 44




 1
     the letter my office sent US News last week, the University of Pennsylvania Health
 2
 3   System has joined other hospitals in withdrawing from US News & World Report’s

 4   dubious hospital rankings.”33 The City Attorney was evidently pleased that his use
 5
     of his official government powers had caused damage to U.S. News’ business and
 6
 7   reputation. Moreover, the City Attorney’s public statements—issued before U.S.
 8
     News even had an opportunity to respond—demonstrate that the City Attorney had
 9
10   prejudged the issues at the very outset of the investigation.

11         55.    U.S. News met with the City Attorney’s Office on July 11, 2023 to
12
     discuss the June 20 Letter. During the meeting, the City Attorney’s Office confirmed
13
14   that it believes that U.S. News should be using a different methodology or factors in
15
     its hospital rankings. The City Attorney’s Office also expressed the view that it was
16
17   well within the City Attorney’s power to question U.S. News over which factors and

18   criteria it should be considering when conducting its hospital rankings. Indeed, a
19
     review of many of the informational requests in Attachment A to the letter confirms
20
21   that the City Attorney is claiming power to second-guess and reshape U.S. News’
22
     chosen approach to its rankings. Ex. A at 5-7. For example, the letter asks whether
23
24   U.S. News has considered and declined modifications and changes to certain ranking

25
26
     33
27            David     Chiu,      Tweet      Message,     X.com,         available     at
     https://x.com/DavidChiu/status/1673456048882208769 (last visited Jan. 23, 2024).
28



                                               26
                                                                             COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 27 of 44




 1
     methodologies. Id. It asks what plans U.S. News has to address what the City
 2
 3   Attorney perceives as disparities in weighting certain diseases. Id. It asks what

 4   plans does U.S. News have to expand and develop its measures of health equity. Id.
 5
     The Attachment also advocates for certain changes in the methodology raised by
 6
 7   critics of U.S. News’ rankings under the heading “Data Limitations.” Id.
 8
           56.    The City Attorney’s questions about the propriety of U.S. News’
 9
10   methodology and the factors considered are misplaced and cannot be justified under

11   the guise of regulating mere advertising. As the Ninth Circuit Court of Appeals
12
     recently explained with respect to ratings systems, “there is an inherently subjective
13
14   element in deciding which scientific and objective criteria to consider. For example,
15
     publications that rank colleges or law schools purportedly rely on objective criteria
16
17   (e.g., acceptance rates, test scores, class size, endowment), but selecting those

18   criteria involves subjective decision-making.” ARIIX, LLC v. NutriSearch Corp.,
19
     985 F.3d 1107, 1121 (9th Cir. 2021).            That healthcare professionals disagree
20
21   regarding the best data and modeling methods to be used in hospital rankings only
22
     underlines the subjectivity at work here. No such opinion can be properly labeled
23
24   or regulated as though it is false advertising.

25         57.    On July 19, 2023, U.S. News sent a response to the City Attorney’s
26
     letter. A copy of this letter is attached as Exhibit B. U.S. News alerted the City
27
28   Attorney that his inquiries infringed upon U.S. News’ rights under the First


                                                27
                                                                              COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 28 of 44




 1
     Amendment and the Liberty of Speech Clause, but nonetheless provided a
 2
 3   thoroughgoing response to the baseless allegations in the letter.

 4         58.    On January 9, 2024, the City Attorney sent a response letter to U.S.
 5
     News in which he simply reiterated his view that U.S. News must disclose the
 6
 7   methodology behind its hospital rankings, must substantiate its statements about the
 8
     quality and value of these rankings, and must disclose additional financial
 9
10   information relating to the rankings. A copy of this letter is attached as Exhibit C.

11   The letter attached two Subpoenas: one seeking documents relating to the hospital
12
     rankings, and another containing interrogatories relating to the rankings. A copy of
13
14   the Subpoenas are attached as Exhibits D and E.
15
           59.    The interrogatory Subpoena contains fourteen interrogatories relating
16
17   to U.S. News hospital rankings. Each of these interrogatories infringes upon U.S.

18   News’ First Amendment rights as a private speaker and a media enterprise. For
19
     example, the Subpoena includes no less than seven interrogatories second-guessing
20
21   and challenging U.S. News’ protected speech regarding its rankings:
22         Describe USNWR’s basis for stating that its Best Hospitals rankings
23         are “[h]ow to find the best medical care in 2023,” as stated on the
           following webpage: https://health.usnews.com/best-hospitals.
24
           Describe USNWR’s basis for according 19 times greater weight to
25         cystic fibrosis treatment than to sickle cell disease treatment in the
26         Children’s Hospital rankings;
27         Describe how, if at all, USNWR has incorporated primary and
           preventive care in each annual version of the Best Hospitals rankings;
28



                                              28
                                                                            COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 29 of 44




 1         Describe USNWR’s basis for not including measures of health equity
 2         in its rankings of adult Hospitals;
 3         Describe how USNWR has adjusted the Medicare fee-for-service
           dataset to reflect actual patient populations in each annual version of its
 4         Best Hospitals rankings;
 5         Describe USNWR’s basis for believing that Medicare outcomes
 6         information from at least 18 months ago accurately reflects current
           Hospital outcomes;
 7
           Describe USNWR’s basis for using opinion surveys as the exclusive
 8         method for ranking Hospitals in ophthalmology, psychiatry, and
 9         rheumatology and for incorporating opinion surveys into other
           specialties ranked by USNWR.
10
     Ex. D at 3-4 (Rog. Nos. 7-13).
11
12         60.   The interrogatory Subpoena also demands that U.S. News identify all
13   hospitals who have paid U.S. News for any purpose, including badge licensing, data,
14
     advertising, and promotion. Ex. D at 3 (Rog Nos. 1-6). These requests reflect an
15
16   improper governmental attempt to intimidate and dissuade U.S. News and the
17
     hospitals from entering into commercial relationships with each other, harming U.S.
18
19   News’ business, simply because the City Attorney disagrees with U.S. News’
20   hospital rankings and methodology.
21
           61.   The document Subpoena is similarly intrusive, demanding U.S. News’
22
23   agreements with any hospitals identified in the interrogatories, as well as its
24
     contracts with certain partners who have assisted U.S. News in creating the Best
25
26   Hospitals rankings. Ex. E at 3.
27
28



                                               29
                                                                              COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 30 of 44




 1
           62.      The City Attorney’s attempt to seek confidential, unpublished
 2
 3   information and documents regarding U.S. News’ business relationships, and to

 4   imply through government coercion and investigation that these relationships are in
 5
     any way improper, appear designed to cause economic and reputational harm to U.S.
 6
 7   News. The City Attorney has previously touted the harm that his investigation has
 8
     caused to U.S. News, and there is substantial risk that enforcement of the Subpoenas
 9
10   will intimidate hospitals and other entities from advertising with U.S. News or

11   providing data to assist its rankings.
12
           63.      If U.S. News were to surrender to the City Attorney’s demands and alter
13
14   its hospital rankings to align with his preferences, the implications would be severe.
15
     The City Attorney, for example, has accused U.S. News of placing “an undue
16
17   emphasis on mortality”34, and has subpoenaed information regarding the use of

18   “opinion surveys” in its rankings.35 But readers are entitled to make their own
19
     decisions about these factors when making personal health care decisions. To be
20
21   sure, the City Attorney may have his own differing opinions from U.S. News’
22
     editors, to which he is entitled. What he should not be doing is trying to dictate and
23
24   second-guess the editorial judgments of U.S. News. No government official should

25   be imposing his personal views at the expense of a free press.
26
27
           34
                 Ex. A at 2.
28         35
                 Ex. D (Rog. No. 13).


                                               30
                                                                             COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 31 of 44




 1   IV.    THE CITY ATTORNEY'S ENFORCEMENT ACTION APPEARS
 2          MOTIVATED BY THE AGENDA OF U.S. NEWS’ CRITICS, AS
            OPPOSED TO ANY PURPORTED GOVERNMENT INTEREST
 3
            64.   The City Attorney’s brazen efforts to trample the First Amendment
 4
 5   rights of U.S. News are facially unlawful. Concerns are further compounded,
 6
     however, by indications that the City Attorney is furthering the personal agenda of
 7
 8   critics of U.S. News and its rankings, as opposed to any genuine governmental
 9   interest.
10
            65.   The original June 20, 2023, letter from the City Attorney instructed U.S.
11
12   News to “direct any questions and provide the requested documentation,
13
     information, and confirmation by July 5, 2023, to Chief of Complex and Affirmative
14
15   Litigation Sara Eisenberg.” Ex. A at 3-4. U.S. News met with Ms. Eisenberg and
16   others on July 11, 2023 to discuss its concerns with the letter, and U.S. News sent its
17
     response letter to Ms. Eisenberg. Ex. B at 1. And when the City Attorney’s Office
18
19   sent its Subpoenas on January 9, 2024, Ms. Eisenberg was once again copied. Ex. F
20
     (Jan. 9, 2024 Email from City Attorney’s Office). Ms. Eisenberg, meanwhile, is the
21
22   City Attorney’s liaison with Yale Law School’s San Francisco Affirmative Litigation
23   Project (“SFALP”), a partnership between Yale Law School and the San Francisco
24
     City Attorney’s Office. SFALP is led by Dean Heather Gerken of Yale Law School,
25
26
27
28



                                               31
                                                                             COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 32 of 44




 1
     an outspoken critic of U.S. News’ rankings, who works closely with Ms. Eisenberg
 2
 3   to oversee this partnership.36

 4         66.    Dean Gerken founded SFALP in 200637 and “is one of the few Deans
 5
     in the country to run a clinic.”38 The program “pairs Yale Law students with lawyers
 6
 7   from the San Francisco City Attorney’s Office to conceive, develop, and litigate
 8
     cutting-edge public interest cases.”39 The SFALP website explains how the Yale
 9
10   program works closely and fluidly with the City Attorney’s Office:

11         Imagine a public interest law firm with significant resources,
           outstanding attorneys, and standing to bring suits that most public
12         interest groups cannot bring without costly class-action litigation. With
13         a long history of engaging in civil law enforcement and public policy
           litigation, the San Francisco City Attorney’s Office deploys top-flight
14         lawyers to pursue affirmative litigation on behalf of the people of San
15
           Francisco and California. Yale students work with deputy city attorneys
           on the Affirmative Litigation Task Force through every stage of the
16         litigation process, from brainstorming possible suits to filing
           complaints to motions practice.40
17
18         67.    SFALP “embodies the vision of Dean Heather K. Gerken[.]”41 A

19   litigation guide co-published by the City Attorney and SFALP encourages “city,
20
21         36
                  Yale Law School, San Francisco Affirmative Litigation Project, About Us,
     available at https://law.yale.edu/sfalp/about-us (last visited Jan. 23, 2024).
22           37
                Id.
             38
23               Yale Law School, Heather Gerken, available at https://law.yale.edu/heather-
     gerken (last visited Jan. 23, 2024).
24           39
                 Yale Law School, San Francisco Affirmative Litigation Project, available at
25   https://law.yale.edu/sfalp (last visited Jan. 23, 2024).
             40
                  Yale Law School, San Francisco Affirmative Litigation Project, SF City
26   Attorney’s Office available at https://law.yale.edu/sfalp/sf-city-attorneys-office (last
27   visited Jan. 23, 2024).
             41
                Yale Law School, SFALP, The Opioid Epidemic, And Public Interest at SFALP,
28   the Opioid Epidemic, and Public Impact | Yale Law School (last visited Jan. 23, 2024).


                                               32
                                                                              COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 33 of 44




 1
     county, and district attorney’s offices to embrace a broader sense of mission: as not
 2
 3   only the attorney for the city or county as an institution, but also as the attorney

 4   representing the interests of its residents.”42
 5
           68.    The litigation guide also discusses strategies for using consumer
 6
 7   protection laws to achieve public interest goals: “What makes consumer protection
 8
     law especially valuable for impact litigation is its breadth and versatility. When local
 9
10   law offices take full advantage of consumer protection law, they can engage in a

11   wide range of public interest litigation. They may engage in prototypical consumer
12
     protection cases—combatting deceptive sales tactics, false advertising, or unfair
13
14   banking and lending practices. But, local law offices can also use consumer
15
     protection laws to protect residents from business practices that cause other types of
16
17   widespread harm or threaten residents’ well-being.”43

18         69.    For the past few years, while partnering with the City Attorney through
19
     SFALP, Dean Gerken has become one of the leading critics of the rankings of U.S.
20
21   News. In 2022, Yale became the first top 14 law school to decline to participate in
22
     U.S. News’ ranking survey of law schools.44 In her public notice describing the
23
24         42
               Local Action, National Impact: A Practical Guide To Affirmative Litigation For
25   Local Governments, at 4, available at A-Practical-Guide-to-Affirmative-Litigation-
     FINAL-4.13.19-1.pdf (sfcityattorney.org) (last visited Jan. 23, 2024).
26         43
               Id. at 16.
           44
27              See Ines Chomnalez, Yale Law School withdraws from “perverse” U.S. News
     rankings, Yale News, Nov. 16, 2022 at https://yaledailynews.com/blog/2022/11/16/yale-
28   law-school-withdraws-from-perverse-u-s-news-rankings/ (last visited Jan. 23, 2024).


                                                33
                                                                              COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 34 of 44




 1
     reasons for Yale Law School’s decision, Dean Gerken criticized the rankings as
 2
 3   “profoundly flawed” and lacking a “sound methodology,” and stated that “the

 4   rankings process is undermining the core commitments of the legal profession.”45
 5
     Dean Gerken went further, stating that the “ill-conceived system” of U.S. News’
 6
 7   rankings “applies a misguided formula that discourages law schools from doing what
 8
     is best for legal education,” uses a “backward approach” to student debt loads, and
 9
10   provides “inadequate weight” to how much financial aid a law school provides to its

11   students.46 Even after U.S. News met with over 100 law school administrators and
12
     made changes to the law school ranking criteria,47 Dean Gerken continued to
13
14   criticize U.S. News, telling press outlets that Yale Law School had “cemented our
15
     decision to stop participating in the rankings.”48 Such comments notwithstanding,
16
17
18          45
                 Dean Gerken: Why Yale Law School Is Leaving the U.S. News & World Report
19   Rankings, Yale Law School, Nov. 16, 2022 at https://law.yale.edu/yls-today/news/dean-
20   gerken-why-yale-law-school-leaving-us-news-world-report-rankings (last visited Jan. 23,
     2024).
21           46
                 Id.
             47
                  Robert Morse and Stephanie Salmon, Plans for Publication of the 2023-2024
22
     Best       Law     Schools,   U.S.    News,      Jan.   2,     2023       available     at
23   https://www.usnews.com/education/blogs/college-rankings-blog/articles/2023-01-
     02/plans-for-publication-of-the-2023-2024-best-law-schools (last visited Jan. 23, 2024).
24           48
                 Ines Chomnalez, U.S. News Rankings To Be Modified, Yale Law Doubles Down
25   On      Withdrawal,     Yale    Daily   News,     Jan.   23,    2023,      available     at
     https://yaledailynews.com/blog/2023/01/23/u-s-news-rankings-to-be-modified-yale-law-
26   doubles-down-on-withdrawal/ (last visited Jan. 23, 2024); see also Education Secretary
27   Cardona And Expert Panelists Discuss A Future Beyond Rankings, Yale Law School,
     March 2, 2023, available at https://law.yale.edu/yls-today/news/education-secretary-
28   cardona-and-expert-panelists-discuss-future-beyond-rankings (last visited Jan. 23, 2024);


                                                 34
                                                                                 COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 35 of 44




 1
     U.S. News published its news law school rankings in 2023, and Dean Gerken
 2
 3   continued her criticism of U.S. News.49

 4         70.    The City Attorney’s letter mirrors Dean Gerken’s criticism of U.S.
 5
     News’ rankings. Both the City Attorney and Dean Gerken have criticized U.S.
 6
 7   News’ “methodology” and the “weight” U.S. News gives to certain factors,50 both
 8
     have called the rankings “flawed,”51 both claimed that U.S. News’ rankings cause
 9
10   “harm,”52 and both have accused U.S. News of “disincentiviz[ing]” programs that

11   assist individuals with fewer means.53
12
           71.    It is striking that U.S. News’ primary contact with the City Attorney’s
13
14   Office has been Ms. Eisenberg, Dean Gerken’s liaison and partner in the SFALP
15
     program. While U.S. News respects Dean Gerken’s First Amendment right to
16
17   express her views publicly, such criticism belongs in the public square, where it may

18   (or may not) persuade—it should not be weaponized by the City Attorney’s Office
19
20         49
                  See, e.g., Jack Stripling, Yale Sparked A U.S. News Rankings Revolt. Here’s
21   What Happened Next, Washington Post, Dec. 4, 2023, available at
     https://www.washingtonpost.com/education/2023/12/04/us-news-law-school-revolt-yale
22
     (last visited Jan. 23, 2024).
             50
23               Compare Dean Gerken, supra n. 45 with Ex. A (June 20, 2023 Letter from the
     City Attorney); see also Ex. D (Interrogatory Subpoena) at 3-4.
24           51
                 Compare Dean Gerken, supra n. 45 with Ex. A (June 20, 2023 Letter from the
25   City Attorney).
             52
                 Compare Dean Gerken, supra n. 45 with City Attorney of San Francisco, U.S.
26   News & World Report Faces Legal Scrutiny Over Dubious Hospital Rankings (June 20,
27   2023), supra n. 32.
             53
                 Compare Dean Gerken, supra n. 45 with Ex. A (June 20, 2023 Letter from the
28   City Attorney).


                                               35
                                                                              COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 36 of 44




 1
     to launch unconstitutional enforcement actions. This Court should not allow any
 2
 3   private party, in any way, to co-opt government so as to impose a personal viewpoint

 4   on others. By adopting Dean Gerken’s preferred viewpoint as though it deserves the
 5
     force of law, the City Attorney’s Subpoenas are overstepping beyond the bounds of
 6
 7   proper law enforcement and unconstitutionally attempting to chill and penalize a
 8
     disfavored viewpoint. Despite the prevalence of countless media publications that
 9
10   perform various types of rankings, including of hospitals, U.S. News is unaware of

11   the City Attorney investigating any of these other publications.
12
       Count I – First Amendment (Chilling Freedom of Speech and of the Press)
13          (Pursuant to 28 U.S.C. §§ 2201, 2202; 42 U.S.C. §§ 1983, 1988)
14
           72.    Plaintiffs repeat, re-allege, and incorporate the allegations in
15
16   paragraphs 1–71 of this Complaint as though fully set forth herein.
17         73.    The First Amendment to the United States Constitution applies to
18
     California by virtue of the Fourteenth Amendment.
19
20         74.    The First Amendment provides that “Congress shall make no law ...
21
     abridging the freedom of speech, or of the press ....” U.S. Const. amend. I.
22
23         75.    “The First Amendment, applied to states through the Fourteenth
24   Amendment, prohibits laws abridging the freedom of speech.” Animal Legal Def.
25
     Fund v. Wasden, 878 F.3d 1184, 1193 (9th Cir. 2018) (internal quotation omitted).
26
27
28



                                              36
                                                                            COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 37 of 44




 1
           76.    “Under that Clause, a government, including a municipal government
 2
 3   vested with state authority, has no power to restrict expression because of its

 4   message, its ideas, its subject matter, or its content.” Reed v. Town of Gilbert, Ariz.,
 5
     576 U.S. 155, 163 (2015) (internal quotation omitted).
 6
 7         77.    “That the First Amendment speaks separately of freedom of speech and
 8
     freedom of the press is no constitutional accident, but an acknowledgment of the
 9
10   critical role played by the press in American society.” Houchins v. KQED, Inc., 438

11   U.S. 1, 17 (1978) (Stewart, J., concurring).
12
           78.    The Liberty of Speech Clause in the California Constitution similarly
13
14   provides that “[e]very person may freely speak, write and publish his or her
15
     sentiments on all subjects” and “[a] law may not restrain or abridge liberty of speech
16
17   or press.” Cal. Const. art. I, § 2. The California Supreme Court has held that the

18   Liberty of Speech Clause “grants broader rights to free expression than does the First
19
     Amendment to the United States Constitution.” Fashion Valley Mall, LLC v. Nat’l
20
21   Lab. Rels. Bd., 42 Cal. 4th 850, 857 (2007).
22
           79.    In violation of 42 U.S.C. § 1983, the Subpoenas, on pain of criminal
23
24   penalties for lack of compliance, infringes the rights of U.S. News that are secured

25   by the First and Fourteenth Amendments and the Liberty of Speech Clause,
26
     irreparably injuring U.S. News.
27
28



                                               37
                                                                              COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 38 of 44




 1
           80.    Here, the City Attorney is investigating and threatening enforcement
 2
 3   against U.S. News because the City Attorney faults the content of U.S. News’ speech

 4   in the form of its journalism and methodologies. Such adverse government action
 5
     implicates both the First Amendment and the Liberty of Speech Clause, and is
 6
 7   subject to strict scrutiny. “The level of scrutiny with which [a court reviews] a
 8
     restriction of free speech activity depends upon whether it is a content-neutral
 9
10   regulation of the time, place, or manner of speech or restricts speech based upon its

11   content.” Fashion Valley Mall, LLC, 42 Cal. 4th at 865 (2007). A law is content-
12
     based “if the main purpose in enacting it was to suppress or exalt speech of a certain
13
14   content, or it differentiates based on the content of speech on its face.” Matter of
15
     Search Warrant for [redacted].com, 248 F. Supp. 3d 970, 981 (C.D. Cal. 2017)
16
17   (search warrant notice preclusion order was a content-based restriction subject to

18   strict scrutiny) (internal quotation omitted).
19
           81.    A law that is intended to regulate speech based on its particular content
20
21   or viewpoint is “presumptively unconstitutional and may be justified only if the
22
     government proves that they are narrowly tailored to serve compelling state
23
24   interests.” Reed, 576 U.S. at 163. “It is rare that a regulation restricting speech

25   because of its content will ever be permissible.” United States v. Playboy Ent. Grp.,
26
     Inc., 529 U.S. 803, 818 (2000).
27
28



                                               38
                                                                             COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 39 of 44




 1
           82.    The City Attorney’s June 20, 2023 letter and subsequent Subpoenas
 2
 3   demonstrate content- and viewpoint-based criticisms and intrusions against the U.S.

 4   News’ journalism and methodologies. Among other things, the June 20 letter
 5
     expresses “significant concerns about the rankings of hospitals,” states that the
 6
 7   rankings “suffer from poor and opaque methodology,” questions the “reliability of
 8
     the rankings,” and suggests (falsely) that “[U.S. News’] ranking methodology is
 9
10   seriously flawed.” Ex. A at 1-2. The Subpoenas go a step further, threatening

11   potential contempt for noncompliance if U.S. News does not answer the City
12
     Attorney’s hostile, invasive questions and produce requested documents behind the
13
14   hospital rankings. Exs. D, E.
15
           83.    U.S. News’ rankings and opinions are its own. They are not published
16
17   by the City Attorney, nor does U.S. News need the City Attorney’s approval and

18   endorsement in order to publish them as it does. By the same token, the City
19
     Attorney lacks legal charter to translate any potential disagreement with U.S. News’
20
21   rankings into a burdensome, intrusive investigation, let alone an enforcement action,
22
     at U.S. News’ grave expense. See, e.g., Giebel v. Sylvester, 244 F.3d 1182, 1188–89
23
24   (9th Cir. 2001) (attempts to single out and silence a particular speaker amount to

25   impermissible viewpoint discrimination); Hurley v. Irish-Am. Gay, Lesbian &
26
     Bisexual Grp. of Bos., 515 U.S. 557, 581 (1995) (“Disapproval of a private speaker’s
27
28   statement does not legitimize use of the [state’s] power to compel the speaker to alter


                                               39
                                                                             COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 40 of 44




 1
     the message by including one more acceptable to others.”); Miami Herald Pub. Co.
 2
 3   v. Tornillo, 418 U.S. 241, 256 (1974) (requirement that newspaper “publish that

 4   which reason tells them should not be published is unconstitutional”) (internal
 5
     quotation omitted); Nat’l Rifle Ass’n of Am. v. City of Los Angeles, 441 F. Supp. 3d
 6
 7   915, 930 n.3 (C.D. Cal. 2019) (enjoining, as an impermissible content-based
 8
     restriction on speech, city ordinance that “collaterally attack[s] disfavored speech
 9
10   via a disclosure requirement”).

11         84.    The City Attorney’s demand gives U.S. News two choices. Either it
12
     must provide the requested documents and information, which will chill and burden
13
14   its protected speech. Or else it must bear the penalties of noncompliance with the
15
     Subpoenas. So whichever way U.S. News goes with this Hobson’s choice, it stands
16
17   to lose First Amendment freedoms—and thus suffer irreparable injury—unless this

18   Court issues declaratory and injunctive relief.
19
                       Count II – California Reporters’ Shield Law
20                  (Pursuant to California Constitution [Art. I. § 2(b)]
21                             and Cal. Evid. Code § 1070)
22         85.    Plaintiffs repeat, re-allege, and incorporate the allegations in
23
     paragraphs 1–84 of this Complaint as though fully set forth herein.
24
25         86.    The City Attorney’s demands for information regarding U.S. News’
26
     rankings, methodologies, and sources of funding also conflict with the Reporters’
27
28



                                              40
                                                                            COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 41 of 44




 1
     Shield Law, embodied in the California Constitution (art. I, § 2, subd. (b)) and the
 2
 3   California Evidence Code (Cal. Evid. Code § 1070).

 4         87.    “A publisher, editor, reporter, or other person connected with or
 5
     employed upon a newspaper ... shall not be adjudged in contempt ... for refusing to
 6
 7   disclose the source of any information . . . or for refusing to disclose any unpublished
 8
     information[.]” Cal. Const. art. I, § 2(b); see also Cal. Evid. Code § 1070 (same).
 9
10         88.    The Shield Law safeguards the press against intrusive inquiries into

11   unpublished information, confidential sources, and methodologies. “Since contempt
12
     is generally the only effective remedy against a nonparty witness, the California
13
14   enactments . . . grant such witnesses virtually absolute protection against compelled
15
     disclosure.” New York Times Co. v. Superior Ct., 51 Cal. 3d 453, 461 (1990).
16
17         89.    This solicitude for the press is also reflected in United States

18   Department of Justice policy guidelines, which circumscribe the instances in which
19
     the DOJ will subpoena the press:
20
21         (1) A free and independent press is vital to the functioning of our
           democracy. Because freedom of the press can be no broader than the
22         freedom of members of the news media to investigate and report the
           news, the Department’s policy is intended to provide protection to
23
           members of the news media from certain law enforcement tools and
24         actions, whether criminal or civil, that might unreasonably impair
           newsgathering. . . .
25
           (2) The Department recognizes the important national interest in
26         protecting journalists from compelled disclosure of information
27         revealing their sources, sources they need to apprise the American
           people of the workings of their Government. For this reason, with the
28         exception of certain circumstances set out in this section, the


                                               41
                                                                              COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 42 of 44




 1         Department of Justice will not use compulsory legal process for the
 2         purpose of obtaining information from or records of members of the
           news media acting within the scope of newsgathering.
 3
     28 C.F.R. § 50.10.
 4
           90.     The City Attorney’s letter does not compare favorably. It disregards the
 5
 6   critical role that a longstanding news organization such as U.S. News plays in the
 7
     public sphere. The City Attorney has combined legal threats with burdensome
 8
 9   demands for confidential information as part of a concerted effort to censor and
10   revise U.S. News’ rankings so that they better align with the City Attorney’s
11
     viewpoint. Its Subpoenas should be enjoined as violations of California’s Reporters’
12
13   Shield Law.
14
                                       Prayer for Relief
15
           Wherefore, U.S. News respectfully requests that judgment be entered in its
16
17   favor and against the City Attorney as follows:
18
           1.      A declaration that the Subpoenas violate the First Amendment (as
19
20   incorporated by the Fourteenth Amendment), the Liberty of Speech Clause of the
21
     California Constitution, and California’s Reporters’ Shield Law, and is therefore null
22
     and void in its entirety;
23
24         2.      An order temporarily restraining the City Attorney from enforcing the
25
     Subpoenas until a hearing can be held on a preliminary injunction, unless the City
26
27
28



                                               42
                                                                             COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 43 of 44




 1
     Attorney agrees his office will not enforce the Subpoenas before such a hearing may
 2
 3   be held;

 4          3.       An order preliminarily enjoining the City Attorney from enforcing the
 5
     Subpoenas during the pendency of the litigation, unless the City Attorney agrees his
 6
 7   office will not enforce the Subpoenas before this Court can issue a decision on the
 8
     merits;
 9
10          4.       An order permanently enjoining the City Attorney from enforcing the

11   Subpoenas;
12
            5.       An award to U.S. News of its reasonable attorneys’ fees and costs; and
13
14          6.       A grant to U.S. News of such additional or different relief as the Court
15
     deems just and proper.
16
17                                        Jury Demand

18          Plaintiff U.S. News hereby demands a trial by jury as to all issues so triable
19
     in this case.
20
21
22
23
24
25
26
27
28



                                                 43
                                                                               COMPLAINT
     Case 3:24-cv-00395-WHO Document 1 Filed 01/23/24 Page 44 of 44




 1   Dated: January 23, 2024            Respectfully submitted,
 2
                                        QUINN EMANUEL URQUHART &
 3                                      SULLIVAN LLP
 4
 5
                                     By /s/ John Potter
 6                                     John Potter
 7
                                        Attorneys for Plaintiff
 8                                      U.S. News & World Report, L.P.
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                        44
                                                                      COMPLAINT
